Case 2:13-cr-02094-TOR   ECF No. 555   filed 04/15/14   PageID.1869 Page 1 of 5
Case 2:13-cr-02094-TOR   ECF No. 555   filed 04/15/14   PageID.1870 Page 2 of 5
Case 2:13-cr-02094-TOR   ECF No. 555   filed 04/15/14   PageID.1871 Page 3 of 5
Case 2:13-cr-02094-TOR   ECF No. 555   filed 04/15/14   PageID.1872 Page 4 of 5
Case 2:13-cr-02094-TOR   ECF No. 555   filed 04/15/14   PageID.1873 Page 5 of 5
